                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    3:08cr134-23

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )            PRELIMINARY ORDER
               v.                                )              OF FORFEITURE
                                                 )
SANTOS ANIBAL              CABALLERO             )
FERNANDEZ,                                       )
                                                 )
                      Defendant.                 )

       In the Third Superseding Bill of Indictment in this case, the United States sought

forfeiture of property of the Defendant as property that was used or intended to be used to

facilitate the crimes charged, which would be subject to forfeiture under 18 U.S.C. § 924(d), as

incorporated by 28 U.S.C. § 2461(c), and 21 U.S.C. § 853. At trial, the Defendant waived a jury

determination on forfeiture.

       Defendant was subsequently convicted on Count Eight, among others, and was adjudged

guilty of the offense charged in that count. (Doc. No. 846: Verdict). Based on the jury’s verdict

and the evidence already in the record, the Court finds that the Government has established the

requisite nexus between the property and such offense.

       It is therefore ORDERED:

       1. Based upon Defendant’s convictions, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law, subject to the provisions of 21 U.S.C. § 853(n):

               One Taurus .357 revolver and ammunition.




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        2. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct;

and notice that any person, other than the Defendant, having or claiming a legal interest in any of

the above-listed forfeited property must file a petition with the Court within thirty days of the

final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                    Signed: March 3, 2011




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